Case 2:04-cr-20466-.]DB Document 37 Filed 06/16/05 Page 1 of 3 Page|D 35

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United States District Court 95 JUH 16 Pl"l l= 3l

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Western District of Tennessee 'E~?t;&r§letf‘L'srirhiQ
W.D. O`t: TN, ltf‘ililw_."ll"l~ll$
U.S.A. vs. Dwayne Becton Docket No. 04-20466-01 B

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Angela K. Yates presenting an official report upon the
conduct of defendant Who was placed under pretrial release supervision by the Honorable Tu M. Pham sitting in
the court at Meniphis, on the 10"‘ day of December, 2004 under the following conditions:

l) Report as directed by the Pretrial Services Office.

2) Maintain or actively seek employment

3) Travel restricted to the Westem District of Tennessee and the Northern District of Illinois without prior
approval of Pretrial Services.

4) Refrain from possessing a fireann, destructive device, or other dangerous weapon

5) Refrain from excessive use of alcohol.

6) Refrain from any use or unlawtiil possession of a narcotic drug or other controlled substances

7) Submit to any method of testing required by Pretrial Services for determining whether the defendant is using a
prohibited substance.

8) Participate in substance abuse counseling or treatment if deemed advisable by Pretrial Services.

RESPECTFULLY PRESENTING PETleON FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS;
(If short insert here: if lengthy Write on separate sheet and attach)

SEE ATTACHMENT

PRAY]NG THAT THE COURT WILL ORDER the issuance of a warrant that Dwayne Becton may appear and
show cause as to why his bond should not be revoked.

BOND R_ECOMMBNDATION: No Bond / Detention

ORDER OF COURT I declare under penalty of perjury that the
ll c foregoing is true and correct.
Considered ,yd ordered this

day Of__ulM , 20 and ordered Executed on

filed and made a part of the records in the above JUI]€ 14, 2005

T'”’ 52 M .&j;za)

U.S. Pretria Services Oft'lcer

 

 

u,S. Disrrict Judg, Place Memphis, TN

 

This document entered on the docket sheet in compliance
with Ru|e 55 and/or 32{b) FRCrP on °’ "

 

Case 2:04-cr-20466-.]DB Document 37 Filed 06/16/05 Page 2 of 3 Page|D 36

BECTON, DWAYNE
Page 2

Since Mr. Becton’s release, he has not complied with the following conditions of pretrial release:

l) Report as directed by the Pretrial Services Office

Dwayne Becton resides in Harvey, Illinois, and, as such, is supervised by the U.S. Prctrial Services Oft`ice for the
Northern District of lllinois. Mr. Becton failed to report to their office by telephone as directed on February 23,
2005 . The defendant also failed to report by telephone for the month of M ay 2005. Officer Assistant Tramonte`s
calls to the defendant’s horne were not returned by the defendant or his father.

2) Refrain from any use or unlawful possession of a narcotic drug or other controlled substances
Defendant Becton submitted urinalysis specimens on January 19, 2005, and February 18, 2005, that tested positive
for marijuana

3) Submit to any method of testing required by the Pretrial Services Office for determining whether the
defendant is using a prohibit substance.

On January 18, 2005, Dwayne Becton was directed by U.S. Pretrial Services Oft`icer Assistant Carla Tramonte in the
Northern District of lllinois to submit a urinalysis specimen for testing. Mr. Becton left the Pretrial Services Office
without submitting the urinalysis specimen According to Officer Assistant Tramonte, she contacted the defendant
and directed him to report for a drug screen on Januaiy 19, 2005. Defendant Becton also failed to report as directed
for a drug screen on May 16, 2005.

4) Participate in a program of inpatient or outpatient substance abuse testing, education, or treatment if
deemed advisable by Pretrial Serviees.

On April 12, 2005, the defendant was schedule to meet with Laura Marquez, Drug and Alcohol Treatment Officer
for the Northern District of Illinois1 for a drug treatment assessmentl Mr. Becton failed to appear for the scheduled
assessment Officer Assistant Tramonte contacted the defendant, admonished him for failing to show for the
assessment, and rescheduled the assessment for April 13, 2005. Defendant Becton did show for the assessment on
April 13, 2005, but he declined drug treatment At that time, the defendant was instructed to attend two twelve-step
meetings per week. Defendant Becton failed to provide any proof that he attended the required meetingsl

5) Maintain or actively seek employment.

On February 18, 2005, the defendant reported that he had been working at Vector Marketing in Orland Park, Illinois,
for two weeks. However, Ofticer Assistant Tramonte contacted Vector Marketing and they indicated that the
defendant worked there only one day and then quit. Officer Assistant Tramonte referred the defendant to the SAFER
Foundation which is an employment agency that works with offenders to help them find employment Defendant
Becton advised Officer Assistant Tramonte that he attended the SAFER Foundation and that he did not like it
because it required that the defendant complete a six-week program on job skills, communication, and interviewing

6) The defendant shall not commit any offense in violation of federal, state, or local law while on pretrial
release.

On April 26, 2005, the defendant was arrested by the Chicago Police Department for Possession of Cocaine - Less
than 15 Grams (felony). The Arrest Report in the above case alleged the following On April 26, 2005, officers
were conducting surveillance at a location due to reports of “narcotics sales”. Officers observed the defendant
outside of the location flag down a vehicle. The defendant approached the subject in the vehicle with a clear plastic
bag in his hand containing what appeared to be narcotics and the subject in the vehicle approached the defendant
with United States currency in hand. When officers attempted to approach the defendant, he dropped the bag and
fled on foot. On June 8, 2005, the defendant entered a guilty plea to the charge and was sentenced to 30 months in
the Illinois Department of Corrections.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20466 was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

